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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   MAHMOUD KHALIL,                                         Civ. Act. No. 25-cv-1963

                                         Petitioner,

           v.

   WILLIAM P. JOYCE, et al.,

                                       Respondents.



       RESPONDENTS’ SUPPLEMENTAL BRIEF IN OPPOSITION TO PETITIONER’S
                         MOTION SEEKING RETURN


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                                    PRELIMINARY STATEMENT

          Mahmoud Khalil filed a habeas petition in the Southern District of New York, challenging

  Immigration and Customs Enforcement’s (“ICE”) decision to detain him and then charge him as

  removable. The District Court in the Southern District of New York transferred the action to the

  District of New Jersey, along with all pending motions. See ECF No. 78 at 32-33. That includes Khalil’s

  motion seeking to compel his return to New York. See ECF No. 11. Respondents (hereafter “the

  Government”) submit this brief to supplement their response to the opposition filed on March 14,

  2025. ECF. No. 47.

          As the Government explained, this Court does not have habeas jurisdiction over this matter

  because, habeas relief is not available at all at this time. See ECF No. 90. But even putting those flaws

  aside, this Court may not superintend or replace the judgment of the Executive Branch and order the

  transfer of a person in detention from one facility to another. Congress stripped district courts of

  jurisdiction to review these very decisions. See, e.g., 8 U.S.C. § 1252(b)(9), (g). As the Immigration and

  Nationality Act (“INA”) makes clear, discretionary decisions like where to detain an alien—and where

  to commence removal proceedings—are committed to the sound discretion of the Executive Branch.

  The Act bars courts from reviewing those determinations. Courts have repeatedly declined to do so

  when faced with motions like that one here. There is no basis for this Court to break new ground. It

  should deny the motion.

                                      FACTUAL BACKGROUND

          The Government incorporates the background as set out in their opposition to the original

  motion and its most recent renewed motion to dismiss, or in the alternative, transfer venue. See

  ECF. No. 47 at 1-4; ECF No. 90 at 2-5.




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                                          LEGAL ARGUMENT

      I.       The Court Should Defer Decision on this Motion.

            The Court should defer on deciding this motion until it decides the Government’s pending

  motion to dismiss or transfer. See ECF No. 90. As the Government’s motion explains, Khalil brings

  this habeas action under 28 U.S.C. § 2241, and he must bring it against his immediate custodian and

  in the district of current confinement. See id. Because the Court lacks habeas jurisdiction over the

  action, it also lacks authority to compel ICE to transfer Khalil to his requested facility.

      II.      The Court Lacks Jurisdiction.

            Separate and apart from § 2241, the INA divests this Court of jurisdiction over discretionary

  decisions concerning where detainees are held and the Government’s decision to initiate proceedings.

  Therefore, this Court lacks authority to order Khalil’s transfer to a different jurisdiction.

            As the Government previously noted, the Executive is afforded great deference in deciding

  where to detain Khalil pending removal proceedings and future removal. See ECF. No. 47 at 5-8

  (relying on 8 U.S.C. § 1231(g)(1)); see also CoreCivic, Inc. v. Murphy, 690 F. Supp. 3d 467, 472 (D.N.J.

  2023) (same). “[A]s a part of DHS, ICE ‘necessarily has the authority to determine the location of

  detention of an alien in deportation proceedings . . . and therefore, to transfer aliens from one

  detention center to another.’” Calla-Collado v. Attorney Gen. of U.S., 663 F.3d 680, 685 (3d Cir. 2011)

  (quoting Gandarillas–Zambrana v. Bd. of Immigration Appeals, 44 F.3d 1251, 1256 (4th Cir. 1995)).

  Moreover, the INA specifically precludes review over “any . . . decision or action of the Attorney

  General . . . the authority for which is specified under this subchapter [8 U.S.C. §§ 1151 to 1381] to

  be in the discretion of the Attorney General . . .”. 8 U.S.C. § 1252(a)(2)(B)(ii). Therefore,

  § 1252(a)(2)(B)(ii) bars relief that would impact where and when to detain an alien. See Jane v. Rodriguez,

  Civ. Act. No. 20-5922 (ES), 2020 WL 10140953, at *1-2 (D.N.J. May 22, 2020) (declining to “impose

  its own judgment as to when and how DHS should exercise its statutorily protected discretion to

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  choose the place of detention of detainees”); Fattah v. Sabol, Civ. Act. No. 08-1325, 2008 WL 2914856,

  at *1 (M.D. Pa. July 24, 2008) (noting that when § 1231(g)(1) is read in conjunction with §

  1252(a)(2)(B)(ii), “there is a question as to whether this Court has jurisdiction to review” a

  discretionary decision made under § 1231); Van Dinh v. Reno, 197 F.3d 427, 433 (10th Cir. 1999)

  (finding that judicial review of decision to transfer a detainee is inappropriate due to lack of

  jurisdiction). 1 Congress specifically barred such intervention through the INA, and entrusted the

  Executive Branch alone with making these operational decisions. The Court should decline the

  invitation to second guess these decisions and go beyond congressionally-set boundaries.

          Similarly, § 1252(g) also independently bars relief here. ECF. No. 47 at 8-9. Section 1252(g)

  prohibits district courts from hearing challenges to decisions and actions about whether, when, and where

  to commence removal proceedings. See Jimenez-Angeles v. Ashcroft, 291 F.3d 594, 599 (9th Cir. 2002)

  (“We construe § 1252(g) . . . to include not only a decision in an individual case whether to commence,

  but also when to commence, a proceeding.”). The Third Circuit, along with other circuit courts, has

  held § 1252(g) applies to the discretionary decision to execute a removal order. See Tazu v. Att’y Gen.,

  975 F.3d 292, 297-99 (3d Cir. 2020) (barring the district and circuit court to halt removal because

  “[t]he plain text of § 1252(g) covers decisions about whether and when to execute a removal order.”);

  Rauda v. Jennings, 55 F.4th 773, 777-78 (9th Cir. 2022) (denying stay of removal pending appeal in


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    See also Salazar v. Dubois, No. 17-cv-2186 (RLE), 2017 WL4045304, at *1 (S.D.N.Y. Sept. 11, 2017)
  (concluding that the district court “does not have authority to issue an order to change or keep [an
  alien] at any particular location”); Zheng v. Decker, No. 14-cv-4663 (MHD), 2014 WL 7190993, at *15-
  16 (S.D.N.Y. Dec. 12, 2014) (denying petitioner’s request that the Court order ICE not to transfer
  him to another jurisdiction, holding that § 1231(g) transfer authority “is among the [Secretary of
  Homeland Security’s] discretionary powers”); Jacquet v. Hodgson, No. CIV.A. 03-11568RWZ, 2003 WL
  22290360, at *1 (D. Mass. Oct. 6, 2003) (holding that a court is “without power to prevent transfer of
  a plaintiff” because the“[Secretary of Homeland Security] shall arrange for appropriate places of
  detention” under § 1231(g), and “no court shall have jurisdiction” under § 1252(g) “to hear any cause
  or claim” arising from the discretion granted to the Secretary); Avramenkov v. INS, 99 F. Supp. 2d 210,
  213 (D. Conn. 2000) (refusing to grant petitioner’s request for an injunction to prevent transfer
  because “Congress has squarely placed the responsibility of determining where aliens are to be
  detained within the sound discretion of the Attorney General”);
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  habeas action because “[n]o matter how [petitioner] frames it, his challenge is to the Attorney

  General’s exercise of his discretion to execute [his] removal order, which we have no jurisdiction to

  review.”); E.F.L. v. Prim, 986 F.3d 959, 964-65 (7th Cir. 2021) (affirming the district court’s dismissal

  of a habeas petition and holding that § 1252(g) barred review of the decision to execute a removal

  order while an individual sought administrative relief); Camerena v. Director, Immigration and Customs

  Enforcement, 988 F.3d 1268, 1272, 1274 (11th Cir. 2021) (affirming the dismissal of a habeas petition

  and holding that § 1252(g) bars review of challenges to the discretionary decision execute a removal

  order); Hamama v. Homan, 912 F.3d 869, 874 (6th Cir. 2018) (“Under a plain reading of the text of the

  statute, the Attorney General’s enforcement of long-standing removal orders falls squarely under the

  Attorney General’s decision to execute removal orders and is not subject to judicial review.”).

          Section 1252(g)’s jurisdiction-stripping applies likewise to preclude review of actions to

  commence proceedings that ultimately may end in the execution of a final removal order. See Jimenez-

  Angeles, 291 F.3d at 599; see also Sissoko v. Rocha, 509 F.3d 947, 950–51 (9th Cir. 2007) (holding that §

  1252(g) barred review of a Fourth Amendment false-arrest claim that “directly challenge[d] [the]

  decision to commence expedited removal proceedings”); Humphries v. Various Fed. USINS Emps., 164

  F.3d 936, 945 (5th Cir. 1999) (determining that § 1252(g) prohibited review of an alien’s First

  Amendment retaliation claim based on the Attorney General’s decision to put him into exclusion

  proceedings). Reading § 1231(g)(1) and § 1252(g) in conjunction, the discretionary language found in

  both provisions confirms that Congress did not want to allow piecemeal litigation over where a detainee

  may be placed into removal proceedings. See Tercero v. Holder, 510 F. App’x 761, 766 (10th Cir. 2013)

  (“Accordingly, the Attorney General’s discretionary decision to detain Mr. Tercero and others in New

  Mexico is not reviewable by way of a habeas petition.”).

          Section 1252(b)(9) only confirms that this Court lacks jurisdiction. And therefore, it lacks

  authority to grant the requested relief. ECF. No. 47 at 9-10. Congress clearly intended “to have all


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 challenges to removal orders heard in a single forum (the courts of appeals)” as part of a petition for

 review. Bonhometre v. Gonzales, 414 F.3d 442, 446 (3d Cir. 2005). “[M]ost claims that even relate to

 removal” are improper if brought before the district court. E.O.H.C. v. Sec. United States Dep’t of

 Homeland Sec., 950 F.3d 177, 184 (3d Cir. 2020); see also Reno v. Am.-Arab Anti-Discrimination Comm.,

 525 U.S. 471, 483 (1999) (labeling § 1252(b)(9) an “unmistakable zipper clause,” and defining a zipper

 clause as “[a] clause that says ‘no judicial review in deportation cases unless this section provides

 judicial review.’”); Vasquez v. Aviles, 639 F. App’x 898, 900-01 (3d Cir. 2016); J.E.F.M. v. Lynch,

 837 F.3d 1026, 1031 (9th Cir. 2016) (“Taken together, ‘§ 1252(a)(5) and § 1252(b)(9) mean that any

 issue – whether legal or factual – arising from any removal-related activity can be reviewed only

 through the [petition for review] process.”).

         The Third Circuit has underscored that district courts cannot review “any action taken or

 proceeding brought to remove an alien” so long as the claim can receive meaningful review through

 the petition for review. E.O.H.C., 950 F.3d at 186. Here, Khalil claims his access to counsel will

 adversely affect his removal proceedings, ECF No. 11 at 2, 3, 7, 9, 11, but he can and likely will raise

 that challenge through a petition for review. See, e.g., Patel v. Att’y Gen., 394 F. App’x 941, 944 (3d Cir.

 2010). The same is true of Khalil’s potential challenges to any venue concerns, which can be raised in

 a petition for review. See, e.g., Novas v. Imm. & Customs Enf., 303 F. App’x 115, 119 (3d Cir. 2019); Neto

 v. Att’y Gen., 604 F. App’x 202, 205 (3d Cir. 2015); Sinclair v. Att’y Gen., 198 F. App’x 218, 220-23 (3d

 Cir. 2006). Therefore, Khalil’s request for transfer and request for counsel are both “inextricably

 linked”, Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011), to his removal proceedings and its

 conclusion. Those claims are not “now-or-never,” and § 1252(b)(9) bars this Court from granting

 relief. Therefore, this Court should not act such that it would impact Khalil’s immigration proceedings.

         Finally, the All Writs Act does not save Khalil’s motion. For one, the INA specifically provides

 that the Act is not available here. See 8 U.S.C. § 1252(g) (“[N]otwithstanding any other provision of


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 law (statutory or nonstatutory), including . . . sections 1361 and 1651 of such title, no court shall have

 jurisdiction . . .”) (emphasis added); see also Barrios v. Att’y Gen., 452 F. App’x 196, 198 (3d Cir. 2011).

 Regardless, the All Writs Act only applies in aid of a court’s jurisdiction; and does not apply where, as

 here, a court lacks jurisdiction. See supra at Sect. I; supra at 2-5; see also ECF No. 47 at 10-11; United

 States v. Apple MacPro Computer, 851 F.3d 238, 244 (3d Cir. 2017) (“[A] court has subject matter

 jurisdiction over an application for an All Writs Act order only when it has subject matter jurisdiction

 over the underlying order that the All Writs Act order is intended to effectuate.”). At minimum, for

 that reason, this Court should not—and cannot—revert to the All Writs Act without first assuring

 itself it can hear this matter. See Carlough v. Amchem Prods., Inc., 10 F.3d 189, 201 (3d Cir. 1993) (“[T]he

 court should not have adverted to the Anti–Injunction Act or the All–Writs Act for authority to issue

 the injunction, especially since serious challenges to the court's Article III jurisdiction in Carlough

 were pending at time the court enjoined the Gore plaintiffs.”).

         These jurisdictional hurdles notwithstanding, the merits of Khalil’s arguments do not warrant

 the relief that he seeks. See ECF No. 47 at 12-14. This Court should decline to exercise its discretion

 under the All Writs Act because the circumstances do not warrant it. See United States v. Bd. of Educ. of

 City of Union City, No. CIV. A. 83-2651, 1988 WL 188297, at *3 (D.N.J. Aug. 15, 1988) (“It was well

 within Magistrate Hedges' discretion to find that extraordinary circumstances meriting a writ

 authorized by the All Writs Act did not exist.”). Contrary to Khalil’s arguments, there is no support

 for his contention that ICE “knowingly and intentionally sought to interfere” with jurisdiction over

 this habeas petition. See ECF No. 11 at 1, 2, 7, 9. The decision to transfer Khalil from New York to

 Louisiana was an operational one and made before he had filed the habeas petition. See Second

 Supplemental Declaration of Acting Field Office Director William Joyce (“2d Supp. Joyce Decl.”)

 (ECF No. 72), ¶¶ 8-12. The 26 Federal Plaza location serves a processing center, which is effectively

 a short-term hold room for individuals. Id. ¶ 15. ICE’s own policy “dictates that absent exceptional


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 circumstances, no detainee should be housed in a Hold Room facility for longer than 12 hours.” Id.

 The Elizabeth Detention Center was dealing with bedbug issues, and the facility could not accept

 anyone as a full transfer. Id. ¶ 11. ICE made an operational decision to not inquire into bedspace of

 surrounding areas of responsibility given the “awareness of general paucity of bedspace.” Id. Ordering

 Khalil’s return could adversely affect other areas of responsibilities and their detainee population,

 which is why ICE decided to transfer Khalil to Louisiana. Id. ¶ 11.

         Facts undercut Khalil’s lack-of-access-to-counsel contention. See ECF No. 11 at 2, 3, 7, 9, 11.

 Since his transfer to Louisiana, the Government has diligently worked to obviate the need for a return.

 The Government consented to providing and complied with Judge Furman’s order that afforded

 Khalil two attorney-client calls. ECF No. 29. ICE has committed to working with Khalil’s counsel to

 schedule timely privileged calls, and the Louisiana facility has a robust system to facilitate calls and

 courts appearances. See Declaration of Melissa Harper (“Harper Decl.”) (ECF No. 49), ¶¶ 4-10. After

 his transfer, Khalil submitted a sworn declaration. See ECF No. 73-1. Separately, he along with other

 students initiated a separate lawsuit and filed a declaration in that case. See Khalil, et al. v. The Trustees of

 Columbia University in the City of New York, et ., Civ. Act. No. 25-2079, Dkt. No. 1 (complaint filed on

 March 13, 2025), Dkt. No. 16 (declaration submitted in support of a temporary restraining order).

 Accordingly, his concerns about access to counsel are unsupported.

         Lastly, the petitioner has failed to articulate a legal basis why his personal circumstances

 (namely, his access to his wife) provides a justification to issue the extraordinary relief he seeks,

 whether under the All Writs Act or the Court’s inherent equitable authority. The Court should

 therefore consider the theory waived or abandoned. See Alpine Bus. Grp., Inc. v. Sabathia, No. CIV.A.

 2:10-4850, 2011 WL 589959, at *2 (D.N.J. Feb. 10, 2011) (“An unsupported position is considered

 waived or abandoned.”) (citing Conroy v. Leone, 316 F. App’x. 140, 144 n. 5 (3d Cir. 2009)).




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        Therefore, the Court should defer to the agency’s operational considerations and its

 management of immigration detention functions.

                                         CONCLUSION

        For the foregoing reasons, the Court should deny Khalil’s motion.

 Dated: March 21, 2025

                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing filing was served on counsel of

 record via this Court’s CM/ECF system on March 21, 2025.


                                                      s/ Dhruman Y. Sampat
                                                      DHRUMAN Y. SAMPAT
                                                      Senior Litigation Counsel
